Case 1:16-cr-20893-FAM Document 362 Entered on FLSD Docket 06/11/2021 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 16-20893-Cr-Moreno




 UNITED STATES OF AMERICA

 v.

 MONTY RAY GROW,


                Defendant.


                         UNITED STATES= MOTION FOR
               SECOND ORDER OF FORFEITURE OF SUBSTITUTE ASSETS
                         PURSUANT TO 21 U.S.C. § 853(p)

        The United States of America (the “United States@ or the “Government”) hereby moves,

 pursuant to Fed. R. Crim. P. 32.2(e) and 21 U.S.C. § 853(p), for a second preliminary order of

 forfeiture of substitute assets of the Defendant, MONTY RAY GROW, to partially satisfy the

 forfeiture money judgment imposed against him as part of his sentence in this case. The United

 States incorporates points and authorities set forth below in support of this motion. Additionally,

 the United States submits for the Court’s consideration and use a proposed Second Preliminary

 Order of Forfeiture of Substitute Assets.

        1.      On April 25, 2018, the Court, upon motion of the United States, entered its Order of

 Forfeiture [ECF No. 211] in which it imposed a forfeiture money judgment against the Defendant

 for $18,856,744 (US) as part of his sentence in this case (the “Forfeiture Money Judgment”).




                                                 3
Case 1:16-cr-20893-FAM Document 362 Entered on FLSD Docket 06/11/2021 Page 2 of 5



        2.      On September 26, 2018, the Court, upon motion of the United States, entered its

 Preliminary Order of Forfeiture of Substitute Assets [ECF No. 245] pursuant to 21 U.S.C.§ 853(p)

 thereby forfeiting the Defendant’s 2014 Land Rover/Range Rover as a substitute asset in partial

 satisfaction of the Forfeiture Money Judgment.

         3.     The United States now seeks forfeiture of the following substitute assets in partial

  satisfaction of the Forfeiture Money Judgment pursuant to Fed. R. Crim. P. 32.2(e) and 21 U.S.C.

  § 853(p):

               (a)     The real property known and numbered as 5803 Mariner Street, Tampa,

  Florida, together with all improvements, appurtenances, attachments, and fixtures thereon and

  therein;

               (b)     The real property known and numbered as 4110 W. Sevilla Street, Tampa,

  Florida, together with all improvements, appurtenances, attachments, and fixtures thereon and

  therein;

               (c)     All principal, deposits, interest, dividends, and other amounts credited to

  account number 229042044397 held at Bank of America, N.A. in the name of MGTEN Marketing

  Group;

               (d)     All principal, deposits, interest, dividends, and other amounts credited to

  account number 869-914682 held at TD Ameritrade in the name of Monty Ray Grow;

               (e)     One (1) 2016 Yamaha Personal Watercraft (VIN: YAMA0375C616); and

               (f)     One (1) 2016 Yamaha Personal Watercraft (VIN: YAMA0318C616)

  (collectively, the “Substitute Property”).



                                                  4
Case 1:16-cr-20893-FAM Document 362 Entered on FLSD Docket 06/11/2021 Page 3 of 5



        4.      The forfeiture of substitute assets of the Defendant is an appropriate and authorized

 method of satisfying the Forfeiture Money Judgment. Specifically, Fed. R. Crim. P. 32.2(e)

 authorizes the Court to enter an order of forfeiture to include property that qualifies as substitute

 property under an applicable statute. In this case, the applicable statute is 21 U.S.C. § 853(p), which

 provides, in relevant part, the following:

               (p)     Forfeiture of substitute property

               (1)     In general

               Paragraph (2) of this subsection shall apply, if any property described in
               subsection (a), as a result of any act or omission of the defendant–

               (A)     cannot be located upon the exercise of due diligence;
               (B)     has been transferred or sold to, or deposited with, a third party;
               (C)     has been placed beyond the jurisdiction of the court;
               (D)     has been substantially diminished in value; or
               (E)     has been commingled with other property which cannot be divided
               without difficulty.

               (2)     Substitute property

               In any case described in any of subparagraphs (A) through (E) of paragraph
               (1), the court shall order the forfeiture of any other property of the
               defendant, up to the value of any property described in subparagraphs (A)
               through (E) of paragraph (1), as applicable.

 21 U.S.C. § 853(p). Subdivision (p) empowers the Court to order the forfeiture of any other property

 of the Defendant’s up to the value of unavailable assets in lieu of the those assets.

        5.     Additionally, a court may forfeit a defendant’s property as a substitute asset in partial

 satisfaction of a forfeiture money judgment. See United States v. Seher, 562 F.3d 1344, 1373(11th

 Cir. 2009) (affirming district court’s finding that the defendant’s property could be used as a

 substitute asset for the forfeiture money judgment imposed against him).


                                                   5
Case 1:16-cr-20893-FAM Document 362 Entered on FLSD Docket 06/11/2021 Page 4 of 5



            6.     To obtain an order forfeiting a defendant’s property as a substitute asset, the

     government need only comply with the requirements of § 853(p). United States v. Candelaria-Silva,

     166 F.3d 19, 42 (1st Cir. 1999). Again, substitute assets may be forfeited if the Government shows

     that, as a result of any act or omission of the Defendant, the forfeitable property “(1) cannot be

     located upon the exercise of due diligence; [or] (2) has been transferred or sold to, or deposited

     with, a third party.” 21 U.S.C. § 853(p)(1) and (2).

           7.      Here, the Government complied with § 853(p) by submitting the declaration of

 Defense Criminal Investigative Service (DCIS) Special Agent (SA) Caleb King, who recited the

 efforts made to locate the proceeds obtained by the Defendant that are traceable to the federal health

 care offenses he committed. See Attachment 1 (King Decl.), ECF No. 244-1. Specifically, SA King

 explained that according to the results of DCIS’s financial investigation, the Defendant directed the

 gross proceedshe obtained from his crimes, which amounted to $18,866,744 (US), to bank accounts

 he owned or controlled and then subsequently redirected those proceeds to other accounts he owned

 or controlled as well as to the purchase of certain assets. King Decl. at ¶ 5. However, the Government

 was only able to locate and forfeit a combined total of $183,981.05 (US) from those accounts along

 with an automobile. Id. at ¶ 6. 1 Indeed, SA Kings declared that a substantial majority of the gross

 proceeds traceable to the Defendant’s crimes and obtained by him cannot be located, despite the

 exercise of due diligence, because of some act or omission by the Defendant. Id. at ¶ 3.




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   Subsequently, the United States obtained a final order of forfeiture for the Defendant’s 2014 Land
 Rover/Range Rover, see Final Order [ECF No. 305], and filed a motion seeking final forfeiture of
 funds in bank account ending 4176 at Bank of America in the name of MGTEN Marketing Group
 (“BOA 4176”) up to $19,536,743.31(US) [ECF No. 361]. The United States seized all of the funds in
 BOA 4176, which was $80,034.76 (US).
                                                   6
Case 1:16-cr-20893-FAM Document 362 Entered on FLSD Docket 06/11/2021 Page 5 of 5



         8.      In accordance with Fed. R. Crim. P. 32.2(e) and 21 U.S.C. § 853(p), the form of the

 proposed Second Preliminary Order of Forfeiture of Substitute Assets submitted herewith provides

 for the forfeiture of the Substitute Property, for publication of the Second Preliminary Order of

 Forfeiture of Substitute Assets, for the institution of discovery by the Government to expedite

 ancillary proceedings for the adjudication of third party claims to the Substitute Property, if any,

 and for the final forfeiture of the Substitute Property, if no petitions are filed.

          WHEREFORE, the United States now respectfully moves to forfeit the Substitute Property

  in partial satisfaction of the Forfeiture Money Judgment pursuant to 21 U.S.C. § 853(p).

                                                 Respectfully submitted,

                                                 JUAN ANTONIO GONZALEZ
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